





THIS OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS
PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
The State, Respondent,
v.
Nicholas Vieria, Appellant.
      
    
  


Appeal From York County
&nbsp;Roger L. Couch , Circuit Court Judge

Unpublished Opinion No. 2005-UP-287
Submitted April 1, 2005  Filed April 21, 2005

APPEAL DISMISSED


  
    
      
Assistant Appellate Defender Aileen P. Clare, of Columbia, for Appellant.
Attorney General Henry D. McMaster, Chief Deputy Attorney General John W. McIntosh, and Assistant Deputy Attorney General Salley W. Elliott, all of Columbia; and Solicitor Thomas E. Pope, of York, for Respondent.
      
    
  

PER CURIAM:&nbsp; Nicholas Vieria pled guilty to second-degree criminal sexual conduct with a minor.&nbsp; He argues his guilty plea failed to comply with the mandates set forth in Boykin v. Alabama, 395 U.S. 238 (1969).&nbsp; His counsel attached to the final brief a petition to be relieved as counsel, stating she reviewed the record and concluded Vierias appeal is without merit.&nbsp; Vieria did not file a pro se response.&nbsp; 
After a thorough review of the record pursuant to Anders v. California, 386 U.S. 738 (1967) and State v. Williams, 305 S.C. 116, 406 S.E.2d 357 (1991), we dismiss the appeal and grant counsels petition to be relieved.
 APPEAL DISMISSED.[1]
GOOLSBY, HUFF, and STILWELL, JJ., concur.

[1]We decide this case without oral argument pursuant to Rule 215, SCACR. 

